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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

       CHAMBERS OF                                                    MITCHELL H. COHEN BUILDING &
     RENÉE MARIE BUMB                                                  UNITED STATES COURTHOUSE
                                                                           4th & Cooper Streets
  CHIEF U.S. DISTRICT JUDGE
                                                                        Camden, New Jersey 08101

                                        LETTER ORDER

                                                      December 29, 2023

 Via ECF
 Counsel of Record

        Re:      Sokolich v. U.S. Dep’t of Transp., Civil No. 2:23-21728 (BRM) (LDW)
                 New Jersey v. U.S. Dep’t of Transp., Civil No. 2:23-03885 (BRM) (LDW)

 Dear Counsel:

         On December 6, 2023, I received a letter from New York State Senator Brad Hoylman-
 Sigal seeking the recusal of the Hon. Brian R. Martinotti, U.S.D.J., from the above-referenced
 cases and, in the event that Judge Martinotti does not recuse himself, urging this Court “to remove
 these cases from his purview.” I responded to his letter on December 13, 2023. Since that letter,
 this Court has received, via hand-delivery and the Court’s Chambers e-mail address, two additional
 letters related to this matter. In order to prevent further correspondence regarding Senator
 Hoylman-Sigal’s letter, the Court herby directs that the previous correspondence shall be published
 on the docket “for informational purposes only.”

        Therefore, the Clerk of the Court shall DOCKET this letter and the accompanying
 attachments “for informational purposes only” in the above-referenced cases.

                                                      Sincerely,

                                                      s/Renée Marie Bumb
                                                      Renée Marie Bumb
                                                      Chief U.S. District Judge


 Encls.
 December 6, 2023, Letter from Sen. Brad Hoylman-Sigal
 December 13, 2023, Letter from Randy M. Mastro
 December 13, 2023, Letter from the Hon. Renée Marie Bumb
 December 22, 2023, Letter from AUSA Alex D. Silagi et al.
